Case 8:04-cr-00348-CEH-TGW Document 653 Filed 01/05/07 Page 1 of 3 PageID 2658




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 UNITED STATES OF AMERICA

 -vs-                                                             Case No. 8:04-cr-348-T-24 TGW

 KEVIN McMAHON

 ____________________________/

                                              ORDER

        This cause comes before the Court on Defendant McMahon’s Renewed Motion for

 Judgment of Acquittal and Motion for New Trial. (Doc. No. 634). The Government opposes the

 motion. (Doc. No. 642).

 I. Standard of Review for Motion for Judgment of Acquittal Pursuant to Rule 29

        Federal Rule of Criminal Procedure 29 provides for a judgment of acquittal of any

 offense for which the evidence is insufficient to sustain a conviction. When a defendant moves

 for a judgment of acquittal pursuant to Rule 29, the court must review the evidence in the light

 most favorable to the Government and must deny the motion “unless, under no reasonable

 construction of the evidence, could the jury have found the [defendant] guilty beyond a

 reasonable doubt.” U.S. v. Garcia, 405 F.3d 1260, 1269 (11th Cir. 2005)(citations omitted).

 Under Rule 29, “[a]ll reasonable inferences and credibility choices must be made in favor of the

 government and the jury's verdict.” Id. (citation omitted).

 II. Standard of Review for Motion for a New Trial Pursuant to Rule 33

        Federal Rule of Criminal Procedure 33 provides that a “court may vacate any judgment

 and grant a new trial if the interest of justice so requires.” In determining whether to grant the

 motion, the Court must carefully weigh the evidence and may assess the credibility of the
Case 8:04-cr-00348-CEH-TGW Document 653 Filed 01/05/07 Page 2 of 3 PageID 2659




 witnesses. See U.S. v. Tarango, 396 F.3d 666, 672 (5th Cir. 2005)(citations omitted); U.S. v.

 Martinez, 763 F.2d 1297, 1312 (11th Cir. 1985)(citations omitted). If after weighing the evidence

 and assessing the credibility of witnesses the Court concludes that, “‘despite the abstract

 sufficiency of the evidence to sustain the verdict, the evidence preponderates sufficiently heavily

 against the verdict that a serious miscarriage of justice may have occurred,’” the Court may set

 aside the verdict and grant a new trial. Martinez, 763 F.2d at 1312 (quoting U.S. v. Lincoln, 630

 F.2d 1313, 1319 (8th Cir. 1980)).

 III. Discussion

        On November 29, 2006, a jury found Defendant McMahon guilty of conspiracy to

 conduct or participate in the conduct of an enterprise either through a pattern of racketeering

 activity or through the collection of an unlawful debt. (Doc. No. 623). Defendant McMahon

 was alleged to have been part of a crew led by Defendant Alite, acting under the authority of

 Defendant Trucchio, operating under the control of the Gambino crime family.

        Defendant McMahon now moves for a judgment of acquittal or for a new trial, making

 the same arguments that he made during trial when he sought a judgment of acquittal, namely

 that (1) the evidence failed to establish that Defendant McMahon agreed to the Alite conspiracy

 or that Defendant McMahon committed two or more predicate acts on behalf of the conspiracy;

 (2) the evidence instead established that Defendant McMahon’s alleged predicate acts were

 committed on behalf of a separate and distinct crew; (3) Defendant McMahon was tried in an

 improper venue; and (4) the Court erred in failing to give a jury instruction regarding the statute

 of limitations defense. The Court has already considered and rejected these arguments, and

 Defendant McMahon still has not shown that he is entitled to a judgment of acquittal, nor has he


                                                  2
Case 8:04-cr-00348-CEH-TGW Document 653 Filed 01/05/07 Page 3 of 3 PageID 2660




 shown that he should be given a new trial.

       Additionally, Defendant McMahon argues that he is entitled to a new trial should the

Court find that he suffered prejudice as a result of juror misconduct. In arguing juror misconduct,

Defendant McMahon relies on Defendant Trucchio’s motion requesting that the Court conduct an

evidentiary hearing regarding juror misconduct during the juror deliberations. In its order

denying Trucchio’s motion (Doc. No. 652), the Court found that Defendant Trucchio had not

made a colorable showing of juror misconduct and therefore was not entitled to an evidentiary

hearing. Therefore, the Court finds that Defendant McMahon has not shown that he has suffered

prejudice as a result of any juror misconduct.

IV. Conclusion

       Accordingly, it is ORDERED AND ADJUDGED that Defendant McMahon’s Renewed

Motion for Judgment of Acquittal and Motion for New Trial (Doc. No. 634) is DENIED.

       DONE AND ORDERED at Tampa, Florida, this 5th day of January, 2007.




Copies to:
Counsel of Record




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